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                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF CONNECTICUT


JACK MONTAGUE                                          :
                                                       :
         Plaintiff                                     :              CIVIL ACTION NO.:
                                                       :              3:16-CV-00885-AVC
vs.                                                    :
                                                       :
YALE UNIVERSITY, ET AL                                 :
                                                       :
         Defendants                                    :              MAY 16, 2018

                                      MOTION TO SEAL

         Pursuant to Rule 5(e)(4)(b) of the Local Rules of Civil Procedure for the District Court

for the District of Connecticut, the defendants hereby move to file under seal the Affidavit of

Patrick M. Noonan and the attached exhibits. Plaintiff’s counsel has indicated that he has no

objection to this motion.

         The Affidavit and the exhibits attached thereto support the defendants’ Motion for

Summary Judgment and contain information protected from disclosure by the Federal

Educational and Privacy Rights Act. Specifically, the documents contain the names of the two

female Yale University students who filed complaints of sexual misconduct against the

plaintiff and the names of the students interviewed as witnesses during the investigation of

those two complaints. The documents also contain the names of two Yale students involved in

the incident that led to the filing of a complaint against the plaintiff alleging that he defied the

authority of the Yale Police Department. The defendants intend to redact the Affidavit and
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documents as necessary and publicly file the redacted copies in order to protect the

confidentiality interests of the students.



        WHEREFORE, the defendant respectfully requests that the motion to seal be granted.




                                                       THE DEFENDANTS


                                                  BY:___/s/ Patrick M. Noonan (#ct00189)__
                                                     Patrick M. Noonan
                                                     Colleen Noonan Davis (#ct27773)
                                                     Donahue, Durham & Noonan, P.C.
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this
filing will be sent by e-mail to all parties by operation of the court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the court’s CM/ECF System.



                                                       _______________/s/________________
                                                        Patrick M. Noonan




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